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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

                                                   :t           CRIMINAL NO. 21-155
UNITED STATES OF AMERICA
                                                   :t
               v                                                SECTION:    "L"
                                                   J
RANSFORD ACKAH

                                           *       J       ?t




                                         FACTUAL BASIS

       The United States and defendant RANSFORD           ACKAH ("ACKAH") stipulate           and agree

that the below facts are true and that they would have been proven beyond a reasonable doubt had

this matter proceeded to trial. The United States and   ACKAH further stipulate     and agree that these

facts provide a sufficient basis for a plea of guilty to the charge that   ACKAH, not being lawfully

entitled a certificate, license, and document issued to officers and seamen by any officer and

employee of the United States authorized by law to issue the same, did receive and possess said

certificate, license, and document, with intent unlawfully to use said certificate, license, and

document, in violation of Title I 8, United States Code, Section 2197 . The below facts are offered

for the purpose of establishing a sufficient factual basis to support the guilty plea and therefore do

not necessarily describe all the details of the offense or ACKAH's complete knowledge of the

offense.

A.      At all times relevant herein:

        Federal statutes and regulations ("federal law") authorized the United States Coast Guard

("USCG") to issue merchant mariner credentials ("MMCs") and related endorsements. Under

federal law, all mariners employed aboard United States merchant vessels greater than 100 gross

registered tonnage, with     a few limited     exceptions, were required       to   have valid MMCs.

Furthermore,   to serve in various positions, federal law required mariners to have particular
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endorsements added to their MMCs. Consequently, an MMC and each endorsement to an MMC

each constituted a "certificate, license, or document," as described in   Title   18, United States Code,


Section 2197.

        Endorsements determined what position mariners could work, on what kind of vessels, and

in what waters. The presence of an endorsement on an MMC indicated that the mariner                         was

qualified to serve in the specified capacity and that he had met all legal requirements for that

endorsement. Federal law prohibited a mariner from serving in a position for which he lacked the

required endorsement. Similarly, federal law prohibited a business from employing a mariner in a

position for which he lacked the required endorsement.

        In order to obtain an MMC, a mariner was required to meet various requirements and to

take an oath, promising to faithfully and honestly perform all the duties required by the laws of the

United States. For many endorsements, federal law required mariners to pass USCG-administered

examinations. These examinations tested mariners' knowledge and training to safely operate under

the authority of the endorsements. The examinations, which typically consisted of numerous

separately-graded modules, were administered at USCG regional exam centers. One such regional

exam center, known as REC New Orleans, was located in the Eastern District of Louisiana. USCG

employees at the regional exam centers entered the scores into a computer system used to manage

the issuance of credentials to mariners and to process applications for MMCs and endorsements.

        In some situations, passing an examination for one endorsement could enable a mariner to

obtain one or more additional endorsements. This could occur, for example, if the examination

fulfilled a requirement for an additional endorsement or if obtaining the tested for endorsement

fulfilled   a requirement   for an additional endorsement.



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B.       ACKAH received,     possessed, and intended to use endorsements to   which he was not
         lawfully entitled

         ACKAH was    a mariner who sought to add what is known as a Third Assistant Engineer

endorsement to his MMC. As     ACKAH knew, in order to lawfully obtain this endorsement,   he was


required to pass a specific examination at a regional exam center.

         Sharron Robinson ("Robinson") was a maritime industry worker known to ACKAH.

Beverly McCrary ("McCrary") was a former USCG employee at REC New Orleans. Robinson

informed ACKAH that McCrary could, in exchange for money, arrange for mariners to receive

false passing examination scores at REC New Orleans.

         Prior to March 25,2016, ACKAH formed an agreement with Robinson and McCrary to

pay Robinson a sum of money in exchange for McCrary arranging for a USCG employee at REC

New Orleans to falsely report that ACKAH had passed the examination required for a Third

Assistant Engineer endorsement. Pursuant to this agreement, ACKAII paid Robinson a sum of

money.

         As a result of ACKAH's conduct, on or about March 25,2016, a USCG employee at REC

New Orleans falsely reported in a USCG computer system that ACKAH had passed the

examination associated with his application for a Third Assistant Engineer endorsement. As

ACKAH knew, this false report was made in furtherance of, and was essential to, his receipt of

the endorsement. As ACKAH knew, he had not passed the examination and, therefore, was not

lawfully entitled to the endorsement. As a result of ACKAH intentionally causing the USCG

examiner    to make this false entry, the USCG issued ACKAH a Third Assistant Engineer

endorsement.




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         ACKAH later sought to add what is known         as a Designated Duty Engineer ("DDE")

endorsement to his MMC. As      ACKAH knew, in order to lawfully obtain this endorsement,        he was

required to pass a specific examination at a regional exam center. Prior to March 9,2017,    ACKAII

formed an agreement with McCrary to pay McCrary a sum of money in exchange for McCrary

arranging for a USCG employee at REC New Orleans to falsely report that          ACKAH     had passed

the examination required for a DDE endorsement. Pursuant to this agreement, ACKAH paid

McCrary a sum of money.

         As a result of ACKAH's conduct, on or about March 9,2017, a USCG employee at REC

New Orleans falsely reported falsely reported in a USCG computer system that ACKAH had

passed the examination associated     with his application for a DDE endorsement. As ACKAH

knew, this false report was made in furtherance of, and was essential to, his receipt of the

endorsement.      As ACKAII knew, he had not passed the examination and, therefore, was not

lawfully entitled to the endorsement. As a result of ACKAH intentionally causing the USCG

examiner to make this false entry, the USCG issued    ACKAH        a   DDE endorsement.

         As ACKAH knew, possession and use of the above-referenced endorsements and/or the

examinations required for those endorsements, satisfied some of the requirements to obtain what

is known as a Chief Engineer Offshore Supply Vessels ("Chief Engineer OSV") endorsement.

ACKAH      used his above-referenced fraudulently-obtained endorsements and/or false examination

scores   to obtain a Chief Engineer OSV endorsement. As ACKAH further knew, he was not

lawfully entitled to the Chief Engineer OSV endorsement because the USCG issued it based on

the belief that   ACKAH legitimately obtained the above-referenced passing examination scores.

         The aforementioned endorsements, to which ACKAH was not lawfully                       entitled,

authorized   ACKAH to, among other things, serve     as the   chief engineer of offshore supply vessels
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of any horsepower in any waters and serve as the third         assistant engineer   of   vessels   of   any

horsepower in any waters. The chief engineer of a vessel is the officer in charge of the engine

department. The chief engineer is typically responsible for, among other things, all operations

and maintenance having to do with engineering and mechanical equipment throughout the ship.

The third assistant engineer of a vessel holds an officer-level position in the engine department.

The third assistant engineer typically is responsible for, among other things, keeping watch of the

engine room, and overseeing generators, the sewage system, and lube oil purifier.

       From on or about March 25,2016, through on or about March 10,2020, in the Eastern

District of Louisiana and elsewhere, ACKAH received and possessed the above-referenced

endorsements and an       MMC containing said endorsements, knowing that he was not lawfully

entitled to them and with the intent to unlawfully use them.

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CHANDRA MENON                                 Date
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         RD ACKAH                             Date
Defendant




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